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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:05-cr-00033-MP-AK

CRAIG BREWER,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 209, Objection to Presentence Investigation

Report, filed by Defendant Brewer on Wednesday, October 18, 2006. A hearing on this matter

was held on Thursday, October 19, 2006. At the hearing, the Government requested a

continuance in the sentencing of Defendant Brewer, currently scheduled for October 19, 2006,

because it had not had enough time to evaluate and review the Defendant’s objections to the

presentence investigation report. After considering the matter, the motion is granted.

Accordingly, Defendant Brewer’s sentencing is hereby continued to Wednesday, November 30,

2006, at 2 p.m.

       DONE AND ORDERED this            19th day of October, 2006




                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
